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11
                             UNITED STATES DISTRICT COURT

12                         CENTRAL DISTRICT OF CALIFORNIA
13                                   SOUTHERN DIVISION
14
       JOHN C. EASTMAN                           Case No. 8:22-cv-00099-DOC-DFM
15
                    Plaintiff,                   NOTICE
16
       vs.
17
18     BENNIE G. THOMPSON, et al.,

19                  Defendants.
20
21
             1.   Pursuant to this Court’s January 26, 2022 Order, Defendants Bennie G.
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                  Thompson and the Select Committee to Investigate the January 6th Attack
23
                  on the United States Capitol (collectively, the “Select Committee”) hereby
24
                  submit their response to Plaintiff’s February 25 privilege log entries.
25
             2.   Simultaneously with this Notice, the Select Committee is filing under seal
26
                  Plaintiff’s February 25 privilege log with a column indicating the Select
27
                  Committee’s objections to Plaintiff’s privilege claims.
28
                                              NOTICE
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 1      3.    The Select Committee preserves its ability to argue in subsequent briefing
 2            on Plaintiff’s privilege claims that, as a general matter, none of the
 3            documents contained in the Chapman University production set can be
 4            withheld on the basis of attorney-client or work product privilege.
 5      4.    As reflected in the privilege log filed under seal simultaneously with this
 6            Notice, the Select Committee objects that Plaintiff has not provided
 7            sufficient information to determine the validity of Plaintiff’s privilege
 8            assertions. Without the requested information, the Select Committee cannot
 9            fully assess the validity of Plaintiff’s privilege claims.
10      5.    The Select Committee notes that although Plaintiff has provided revised
11            privilege logs for certain days containing further information regarding
12            certain entries, the additional information provided does not fully resolve the
13            noted deficiencies.
14      6.    Plaintiff’s omission of the names of certain individuals in a private
15            association—and even the names of the relevant association—violates this
16            Court’s order requiring Plaintiff to identify the author and recipients for each
17            privilege log entry. See ECF 50. Without such information, the Select
18            Committee cannot evaluate the validity of the privilege claims. Plaintiff
19            states that he has done so because the senders and recipients are “Members
20            in a private association whose First Amendment right to association would
21            be implicated if disclosed.” But Plaintiff has no standing to assert the First
22            Amendment rights of his email correspondents, and his attempt to do so is in
23            defiance of this Court’s order.
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 1                                       Respectfully submitted,

 2                                       /s/ Douglas N. Letter
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12 Dated: March 2, 2022
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                                      NOTICE
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 1                             CERTIFICATE OF SERVICE
 2
                       WASHINGTON, DISTRICT OF COLUMBIA
 3       I am employed in the aforesaid county, District of Columbia; I am over the age of
 4 18 years and not a party to the within action; my business address is:
 5       OFFICE OF GENERAL COUNSEL
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 8       On March 2, 2022, I served the NOTICE on the interested parties in this action:
 9       Anthony T. Caso
10       Constitutional Counsel Group
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         Attorneys for Plaintiff John C. Eastman
18
19      (BY E-MAIL OR ELECTRONIC TRANSMISSION)
          The document was served on the following via The United States District Court –
20        Central District’s CM/ECF electronic transfer system which generates a Notice
21
          of Electronic Filing upon the parties, the assigned judge, and any registered user
          in the case:
22
23       (FEDERAL) I declare under penalty of perjury that the foregoing is true and
                   correct, and that I am employed at the office of a member of
24                 the bar of this Court at whose direction the service was made.
25
         Executed on March 2, 2022 here, at Bethesda, Maryland.
26
27                                                 /s/ Douglas N. Letter
28

                                  CERTIFICATE OF SERVICE
